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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


  UNITED STATES OF AMERICA,                  )
  the LOUISIANA DEPARTMENT OF                )
  ENVIRONMENTAL QUALITY                      )
  and the STATE OF WISCONSIN,                )
                                             )
                 Plaintiffs,                 )
                                             )   CIVIL ACTION NO. 3:10-cv-00563-bbc
           v.                                )
                                             )
  SUPERIOR REFINING COMPANY                  )
  LLC and VALERO REFINING –                  )
  MERAUX LLC,                                )
                                             )
                Defendant.                   )
                                             )


                      FOURTH AMENDMENT TO CONSENT DECREE

       WHEREAS, the United States of America (hereinafter “the United States”); the State of

Wisconsin; and Superior Refining Company LLC (hereinafter “Superior Refining”) are parties to

a Consent Decree addressing Clean Air Act violations at, inter alia, Superior Refining’s

petroleum refinery located in Superior, Wisconsin;

       WHEREAS, following an explosion and fire at the Superior Refinery on April 26, 2018,

the United States, Wisconsin, and Superior Refining entered into an agreement for the

implementation of projects to mitigate its environmental impacts, as well as for certain safety-

focused enhancements to the refinery’s Hydrofluoric Acid Alkylation Unit (the “HF Unit”),

which was approved by the Court on May 24, 2020 (the “Third Amendment”);

       WHEREAS, one of the enhancements to the HF Unit was an upgrade to the HF Unit’s

water mitigation system. A water mitigation system is intended to prevent or minimize the

airborne transport of HF in the event of a release of HF gases or vapors into the air. The Third
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Amendment specified that the refinery’s existing “fixed spray curtain” (a series of water nozzles

that are fixed in place around the HF tank) should be upgraded to include “remotely operated

water cannons” (in which water can be directed to focus on the source a leak and is more

effective on larger leaks than a fixed spray curtain);

       WHEREAS, the Third Amendment also required Superior Refining retain a qualified,

third-party consultant with knowledge in refinery processes and operations relevant to the HF

Unit to assist Superior Refining’s design and implementation of the HF upgrades required by the

Amendment. With respect to the water mitigation system, the consultant’s analysis and

recommendation was to install seven high-volume elevated water cannons and to remove the

existing fixed spray curtain, which because of its placement would interfere with the

effectiveness of the water cannons;

       WHEREAS, representatives from Wisconsin and EPA thereafter met with the consultant

to discuss and further evaluate the consultant’s analysis and recommendation. Based on the

discussion and review, EPA concluded that the recommended design is at least as protective as

the Third Amendment’s specifications for water mitigation and that the fixed spray curtain is not

necessary;

       WHEREAS, the United States, the State of Wisconsin, and Superior Refining have

therefore agreed to make a minor technical modification to the Third Amendment to remove the

reference to a fixed spray curtain;

       WHEREAS, Paragraph 284 provides that the Consent Decree may only be modified by a

written agreement signed by the applicable parties and filed with the Court, but that non-material

modifications need not be approved by the Court. The changes made by this Fourth Amendment




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are considered non-material because the level of protectiveness of the water mitigation system is

unaffected; and

       WHEREAS, while no action is required by the Court, the parties file this modification to

the Consent Decree in order to maintain a complete record of the Consent Decree and all

modifications thereto.

       NOW THEREFORE, the United States, the State of Wisconsin, and Superior Refining

hereby agree that Paragraph 6 of Appendix C of the Third Amendment (“Water Mitigation

System”) is modified as follows:

       “6.     Water Mitigation System. Superior Refining shall maintain a water mitigation

system to prevent or minimize the airborne transport of HF in the event of an atmospheric release

of HF gases or vapors. The water mitigation system, comprised of existing and any

upgraded/new equipment, shall include the following operational, engineering, and design

elements:

               a.        Remotely-operated water cannons and monitors to provide adequate

       coverage of the HF Unit;

               b.        Additional remotely-operated water cannons installed in multiple locations

       in the HF Unit to mitigate a potential accidental release of HF, including the HF

       loading/unloading area;

               c.        Deluge systems in high risk areas, as appropriate;

               d.        Sufficient water capacity and flowrate to allow for simultaneous operation

       of the water mitigation system for an appropriate period of time;

               e.        Be capable of being remotely activated from both the HF Unit Control

       Room and from the field; and



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          f.   Provide a ratio of water to HF of at least 40 to 1 on a volume-to-volume

basis.”




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WE HEREBY CONSENT to this Fourth Amendment to Consent Decree in the matter of United
States, et al., v. Superior Refining Co. LLC, et al., No. 3:10-cv-00563-bbc (W.D. Wis.)


                                 FOR PLAINTIFF THE UNITED STATES OF
                                 AMERICA:




                                 NATHANIEL DOUGLAS
                                 Deputy Chief
                                 Environmental Enforcement Section
                                 Environment and Natural Resources Division
                                 United States Department of Justice
                                 Washington, D.C.




November 18, 2020
________________________         /s/ John Fogarty
                                 _______________________________________
DATE                             JOHN FOGARTY
                                 Special Appointment as a Department of Justice Attorney
                                 Environmental Enforcement Section
                                 Environment and Natural Resources Division
                                 U.S. Department of Justice
                                 P.O. Box 7611
                                 Washington, D.C. 20044-7611

                                 SCOTT C. BLADER
                                 United States Attorney
                                 Western District of Wisconsin

                                 By:




December 1, 2020                 /s/ Leslie K. Herje                       e
DATE                             LESLIE K. HERJE
                                 Assistant United States Attorney
                                 222 West Washington Avenue, Suite 700
                                 Madison, WI 53703
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                                 FOR PLAINTIFF THE UNITED STATES
                                 ENVIRONMENTAL PROTECTION AGENCY:




November 20, 2020
________________________         _______________________________________
DATE                             ROSEMARIE A. KELLEY
                                 Director
                                 Office of Civil Enforcement
                                 Office Enforcement and Compliance Assurance
                                 U.S. Environmental Protection Agency
                                 Washington, D.C. 20460
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                                 FOR PLAINTIFF THE STATE OF WISCONSIN:


                                 JOSHUA L. KAUL
                                 Attorney General of Wisconsin

                                 By:




November 17, 2020
________________________         /s/ Bradley J. Motl
                                 _______________________________________
DATE                             BRADLEY J. MOTL
                                 Assistant Attorney General
                                 Department of Justice
                                 17 West Main Street
                                 Post Office Box 7857
                                 Madison, Wisconsin 53707-7857
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                                  FOR DEFENDANT SUPERIOR REFINING
                                  COMPANY LLC:




 //-I7-2020
DATE
                                  Vic P si ent
                                  Superior Refining Company LLC
